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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 DONNA CURLING, et al.,                    :
                                           :
       Plaintiffs,                         :
                                           :
 v.                                        :         CIVIL ACTION NO.
                                           :         1:17-cv-2989-AT
 BRAD RAFFENSPERGER, et al.,               :
                                           :
       Defendants.                         :

                                      ORDER

      In this case, Plaintiffs challenge the constitutionality of the State of Georgia’s

electronic voting machines and associated software and voting data systems and

their implementation. Now in the third act of this dispute at the center of Georgia’s

elections, though the voting machines at issue are new, the parties’ legal positions

remain essentially unchanged. Plaintiffs have filed their third round of Motions

for Preliminary Injunction [Docs. 619, 640] seeking again to bar the use of voting

machines and require hand-marked paper ballots.

I.    BACKGROUND

      A.     Act One

      When this case was filed in 2017, Plaintiffs’ claims targeted Georgia’s use of

Direct Recording Electronic voting machines (“DREs”) and highlighted significant

security flaws in the State’s Global Election Management Systems (“GEMS”)

servers and online voter registration database. In the late summer of 2018, the
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Plaintiffs moved to enjoin the use of DREs in the November 2018 gubernatorial

general election.

          Two months before the general election, the Court denied Plaintiffs’ request

to enjoin the use of DREs in the November 2018 general election because a last-

minute switch to hand-marked paper ballots would likely adversely impact the

public interest in an orderly and fair election. But, in concluding that the Plaintiffs

had shown a substantial likelihood of success on the merits of their claims that

Defendants’ implementation of the DRE voting system absent an independent

paper audit trail of the vote puts Plaintiffs at imminent risk of deprivation of their

fundamental right to cast an effective vote that is accurately counted, the Court

noted that:

          (1) The State Defendants had delayed in grappling with the heightened

critical cybersecurity issues posed for the State’s dated, vulnerable voting system

that provides no independent paper audit trail and that further delay would not be

tolerable; and

          (2) Because the 2020 elections were around the corner, if a new balloting

system is to be launched in Georgia in an effective manner, it should address

democracy’s critical need for transparent, fair, accurate, and verifiable election

processes that guarantee each citizen’s fundamental right to cast an accountable

vote. 1


1While the case was originally pending, the Georgia legislature failed to pass a bill introduced in
2018 to phase out DREs by 2024. Legislation authorizing the funding of voting machines to
replace the DREs was later enacted during the 2019 legislative session on April 2, 2019.

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       B.     Act Two

       On April 2, 2019, the Governor of Georgia approved HB 316, the newly

enacted state election legislation to replace the statewide mandated use of DREs

with electronic ballot-marking devices (“BMDs”) and optical scanners. 2

       Shortly after, Plaintiffs renewed their requests for a preliminary injunction.

Plaintiffs again sought to enjoin the use of the DRE/GEMS voting system, 3 require

hand-marked paper ballots, require post-election audits, and other relief related

to the State’s electronic pollbook and related computer systems in advance of the

November 2019 local/municipal election cycle. The Court heard evidence on

Plaintiffs’ motions for two days on July 25 and 26, 2019.

       On August 15, 2019, the Court entered an Order on Plaintiffs’ renewed

motions for preliminary injunction. The Court explained in a detailed order how

Plaintiffs’ new motions presented testimony manifesting a catalogue of pervasive

voting problems arising in the 2017-2018 election period that compounded and

expanded the evidence established in the September 2018 preliminary injunction

record compiled before the November 2018 general election. Plaintiffs, the Court

found, marshaled a mountain of evidence demonstrating the burdens to the voting

process and to the casting of a secure, reliable, counted ballot that some portion of




2 Georgia Act No. 24, Georgia House Bill 316, amending Chapter 2 of Title 21 of the Official Code

of Georgia Annotated.
3 The Court uses the term “DRE/GEMS voting system” as a short hand reference to describe the

DRE voting machines and memory cards and the associated Global Election Management System
(“GEMS”) software, servers, and computers used to build ballots, program the DREs, and tally
the vote results.

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voters across Georgia, including Plaintiffs, had experienced as a result of the State’s

continued use of voting equipment, software, hardware, election and voter

databases, that were demonstrably shown to be antiquated, seriously flawed, and

vulnerable to failure, breach, contamination, and attack.

       In issuing its ruling, this Court noted the complicated posture of the case in

reviewing Plaintiffs’ challenge to the GEMS/DRE system in the context of the

State’s recent passage of new legislation requiring the Secretary of State to

implement prospectively “as soon as possible” an entirely new voting system to

replace the existing DRE/GEMS. See O.C.G.A. § 21-2-300(a)(2). The Court found

that it was bound to defer to the electoral machinery and processes chosen by the

Legislature in HB 316 for prompt implementation as planned for the upcoming

2020 elections, expressly noting that the adequacy of the newly chosen BMD

election system was not then before the Court. Based on this unique set of

circumstances, the Court again declined to order the State to switch to hand-

marked paper ballots for what would essentially be a single, limited election cycle

before the State’s planned transition to BMDs for the next major statewide

elections in 2020.

      But the Court also prohibited any continued use of the GEMS/DRE system

past the completion of the 2019 election cycle and ordered the State to develop a

backup plan other than the DRE/GEMS system in the event of incomplete rollout




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of the new BMD system for the March 2020 elections statewide. 4 The Court

required that this contingency backup plan should include the use of hand-marked

paper ballots for voting, in coordination with scanners and other equipment

available through the State’s contract with Dominion. As the record evidence

indicated that no State in the nation had previously introduced a new statewide

voting system in the short time frame projected by the Georgia Secretary of State

for rollout of the BMD system and as the severe inadequacies of the DRE system

made for a faulty foundation for the future, the Court addressed in its order the

issue of the need for a contingency plan other than continued use of the DRE

system. The Secretary of State already had announced its plan to run pilot tryouts

of its new BMD system in several jurisdictions holding smaller elections in

November 2019. Consistent with its Order regarding the need for some form of

contingency plan, the Court ordered the State also to arrange for pilot elections in

several jurisdictions that would use hand-marked paper ballots along with optical

ballot scanners and voter-verifiable, auditable ballot records as part of the

development of its contingency plan.            The Court further ordered the State

Defendants to file a copy of the Georgia Board of Elections’ proposed and final

Rules relating to protocols and provisions for the auditing of election results and

ballots. Finally, the Court ordered the State Defendants to take various actions to




4The March 2020 deadline date was consistent with the RFP and contract requirements imposed
by the Secretary of State’s Office on contract bidders.

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remedy the harm caused by vulnerabilities in the State’s electronic voter

registration database and related pollbook information.

       After the Court issued its injunction Order, the Coalition Plaintiffs moved to

amend the Court’s order to seek more detailed relief and add provisions for the

Court to monitor the State Defendants’ administration of the election. The Court

declined the Coalition Plaintiffs’ invitation to rewrite the Order to grant materially

different relief. More importantly, the Court reiterated that in fashioning the terms

of the August 15, 2019 Order, the Court had endeavored to provide meaningful

relief without intruding excessively into the State’s and counties’ operational

administration of the voting system. The Court per force took into consideration

the Legislature’s adoption of a new voting system and equipment for statewide use.

       C.     Act Three

       On the heels of the Court’s August 15, 2019 Order partially granting the

Plaintiffs’ motions to preliminarily enjoin Georgia’s use of DREs for future

elections past 2019, the Plaintiffs amended their Complaints to include claims

challenging the incoming BMDs and immediately moved to enjoin the use of BMDs

in favor of hand-marked paper ballots. 5




5Plaintiffs had previously asserted that their Complaints already encompassed a challenge to the
new BMD system. The Court rejected this notion and indicated that if Plaintiffs wished to proceed
with such a challenge, an amendment of the complaint to expressly deal with the BMD system
would be necessary.

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II.   DISCUSSION

      Plaintiffs’ amended claims assert that Defendants have failed to implement

a constitutionally-acceptable election system by choosing to require voters to use

ballot-marking devices (“BMDs”) which suffer from the same security

vulnerabilities as Defendants’ flawed DRE Voting System. (Curling Pls.’ Third Am.

Compl. ¶¶ 11, 75-76, Doc. 627; see also Coalition Pls.’ First Supp. Compl. ¶¶ 6-7,

Doc. 628.) Plaintiffs also maintain that other components of the system suffer also

from the same vulnerability and reliability issues, e.g., the new pollbook tablets

that are used for voter check-in at the polls and production of access cards used for

determining the configuration of the ballot to be pulled for different voters based

on their address.

      According to Plaintiffs, the barcode-based BMD voting system will not be

substantially safer than the DREs because BMDs remain susceptible to

manipulation, and the proposed system does not provide a meaningful way for a

voter to verify their vote. (Curling Pls.’ Third Am. Compl. ¶ 72; see also Coalition

Pls.’ First Supp. Compl. ¶ 68.) Plaintiffs contend that specific vulnerabilities have

already been identified with Dominion’s election software and hardware that could

cause the BMD to code votes to the 2D barcode that do not match the voter’s

choices or that could cause a precinct scanner to improperly tabulate votes.

(Curling Pls.’ Third Am. Compl. ¶¶ 78-83; see also Coalition Pls.’ First Supp.

Compl. ¶¶ 167-68, 173-74.) Because the ballot scanners tabulate votes from each

ballot based on the 2D barcode generated by the BMD, which is not readable by a


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voter, voters cannot visually review and confirm whether the bar code accurately

conveys their intended ballot selections. (Curling Pls.’ Third Am. Compl. ¶ 71; see

also Coalition Pls.’ First Supp. Compl. ¶¶ 54-57, 102-103.) Plaintiffs claim this

fundamental characteristic of the BMD voting system, even if operated as

designed, fails to provide voters with a verifiable auditable voting record in

violation of their Constitutional right to a “transparent, fair, accurate, and

verifiable election process” and to “cast an accountable vote.” (Coalition Pls.’ First

Supp. Compl. ¶¶ 1, 64-66, 105, 107; see also Curling Pls.’ Third Am. Compl. ¶¶ 74,

116-119.)

       Plaintiffs’ motions sought to have this Court bar the use of BMDs prior to

their implementation in a statewide election and to order the use of hand-marked

optical scan paper ballots as the State’s primary method of voting. Plaintiffs also

request that the Court order Defendants to institute precertification, post-election,

manual tabulation audits of the paper ballots to verify election results, in sufficient

detail for the Court to evaluate its adequacy.

       Plaintiffs moved for a preliminary injunction of the State’s planned use of

the BMDs voting system prior to the State’s rollout and full implementation of the

new voting machines based on their concerns and claims regarding the inherent

problem posed by use of the barcode for counting votes and the vulnerability and

lack of reliability and confidentiality of the system. 6 The centerpiece of Plaintiffs’


6With the exception of the small number of counties chosen for the BMD pilot elections in the fall
of 2019, the State’s rollout of the BMD system components began on December 5, 2019 with a
scheduled completion through February 14, 2020 for use beginning in March 2020 in time for

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claims is that like the touchscreen DRE machines, the Dominion barcode-based

BMDs and associated equipment do not produce an accountable, verifiable vote or

auditable results and the State’s failure to implement requisite auditing protocols

compounds this alleged operational and constitutional defect.

       The Court carefully reviewed all parties’ evidence and affidavits submitted

in conjunction with the renewed injunction motions. On March 6, 2020, the Court

conducted a limited hearing in light of questions it had concerning the system and

the ongoing adaptations, changes, auditing issues, and State Election Board’s new

regulatory recount and audit provisions in process or under consideration in

advance of the primary and general election cycles. The Court focused the hearing

solely on the issues that it viewed as confusing or unclear in the paper record as it

stood at that time. The hearing was not structured to be a full evidentiary hearing

or to allow full cross-examination of state officials who provided information

responsive to the Court’s inquiries at the hearing. Then, within eight days of the

hearing, the entire posture of the rollout of the new voting system was dramatically

changed by the Secretary of State’s determination to postpone the March 24, 2020

election to May 19, 2020 due to the impact of the Covid-19 pandemic. 7 This date

was later changed to June 9, 2020 – merging the Presidential Primary with the




early voting for the scheduled Presidential Preference Primary election. However, the Court takes
notice of more recent evidence that appears to suggest that needed election equipment
components were being delivered up until the June 2020 general and primary elections and
beyond.
7 The decision to delay announced late on March 14 occurred after the start of early voting on

March 2.

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primaries for a broad swath of elected positions throughout the state. Thus, the

June 9, 2020 primary election was the first time that the new election system was

rolled out on an expansive statewide basis (with the exception of some early voting

from March 2 through March 14 before the delay of the primary).

      The Court recognizes that there are ongoing changes and challenges in the

introduction of the new BMD system made all the more acute due to the Covid-19

pandemic, canceled and rescheduled elections, shortages of election poll workers

trained on the usage of all BMD related voting system components, and other

challenges to boot. Thus, the Court considers the current record in this case as

dated, especially considering the concerns Plaintiffs raise in their most recent

filings seeking expedited discovery. The legal standard for granting a preliminary

injunction is rigorous. The Court appreciates Plaintiffs’ central claim addresses

the problem posed by tabulating votes based on a barcode that cannot be verified

by voters in conjunction with the lack of meaningful, rigorous auditing and that

this contention rests at the core of Plaintiffs’ claims as a matter of law. However,

based on the current preliminary record and Plaintiffs’ focus on their claims as

resolvable as a sheer matter of law in their initial motion pre-March 6, 2020

briefing (albeit bolstered by expert affidavits), the Court finds that Plaintiffs’

showing has been insufficient to support the Court’s granting an injunction solely

based on an “in principle,” or quasi-facial challenge to the legality of the BMD




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system as presented as of March 6th. 8 To the extent that Plaintiffs intended to

present an evidentiary “as applied” challenge of the constitutionality of the BMD

system and its components, prior to the occurrence of any major elections as of

March 6, 2020, the Court views the record as of the Court’s March 6, 2020 hearing

as dated and providing an insufficient basis for the Court to issue such a ruling of

weighty importance.

       For these reasons, the Court DENIES WITHOUT PREJUDICE

Plaintiffs’ Motions for Preliminary Injunction regarding the BMDs [Docs. 619,

640]. The Court does not foreclose further proceedings in this matter based on

actual election based evidence, auditing developments, and other evidence

relevant to the claims at issue in this case, including those not deemed moot by the

Court’s Order of July 30, 2020. 9 As Plaintiffs have indicated their intent to

significantly supplement the evidence in support of their request for injunctive

relief, the Court finds that a denial of the present motions and allowing Plaintiffs

to refile their motions will provide the Court with a more streamlined and clean

record. At the same time, for the sake of clarity, the Court notes that a host of

election issues may arise in the course of the 2020 election cycle that are not

embraced within the ambit of this specific case.




8 The Court notes that consistent with the Court’s Order on the Defendants’ Motion to Dismiss

(Doc. 751), the Plaintiffs may also pursue in state court their state law claims with respect to the
Defendants’ implementation of HB 316.
9 Indeed, Plaintiffs have indicated their intent to significantly supplement the evidence in support

of their request for injunctive relief based on evidence from the June and August elections and
evidence obtained during expedited discovery.

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IT IS SO ORDERED this 7th day of August, 2020.




                            _____________________________
                            Amy Totenberg
                            United States District Judge




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